         Case 3:18-mj-00139-TWD Document 25 Filed 08/13/18 Page 1 of 2


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA
          vs.                                                       3:18-MJ-00139-TWD
MAXIMILIEN R. REYNOLDS,
                                 Defendant.
__________________________________________


APPEARANCES:                                          OF COUNSEL:

FOR THE GOVERNMENT

HON. GRANT C. JAQUITH, ESQ.                           RICHARD SOUTHWICK, ESQ.
Interim United States Attorney                        Assistant U.S. Attorney
Office of the United States Attorney
100 South Clinton Street
PO Box 7198
Syracuse, NY 13261

FOR THE DEFENDANT

SCHLATHER, STUMBAR, PARKS & SALK, LLP                 RAYMOND M. SCHLATHER, ESQ.
200 East Buffalo Street                               KIMBERLY M. ZIMMER, ESQ.
PO Box 353
Ithaca, NY 14851-0353

THÉRÈSE WILEY DANCKS, United States Magistrate Judge

                                          ORDER

       Defendant is charged by criminal complaint with Possession of an Unregistered

Destructive Device/Silencer, False Statement in Acquisition of a Firearm, and False

Statement in Required Firearm Record, in violation of 26 U.S.C. § 5861(d), 18 U.S.C. §

922(a)(6) and 2(a) and 2(b), and 18 U.S.C. § 924(a)(1)(A) and 2(a) and 2(b). On March 19,

2018, this Court ordered a psychiatric or psychological examination of Defendant pursuant to

18 U.S.C. § 4241(b). The mental evaluation was recently completed and the report is filed

under seal. (Dkt. No. 21.)

       On August 3, 2018, counsel for the Government and the Defendant participated in a
          Case 3:18-mj-00139-TWD Document 25 Filed 08/13/18 Page 2 of 2


conference call with the Court to discuss the findings of the report which counsel had

reviewed. (Text Minute Entry 8/3/2018.) Counsel for the Government and Defendant each

confirmed that they did not challenge the results of the examination. Id. Thereafter, counsel

for Defendant filed a letter with the Court indicating that Defendant waived any appearance

for a competency hearing. (Dkt. No. 24.)

         Therefore, based upon the mental health evaluation (Dkt. No. 21), the parties’

indication that neither challenges the results of it (Text Minute Entry 8/3/2018), and

Defendant’s waiver of a formal appearance on his competency at this time (Dkt. No. 24), the

Court adopts the findings in the report filed July 23, 2018 (Dkt. No. 21), from the U.S.

Medical Center in Ayer, Massachusetts, and finds Defendant’s competency has been restored.

The Court finds Defendant is able to understand the charges pending against him; he is able to

meaningfully participate in legal proceedings; and he is capable of assisting his counsel in

defending him.

         ACCORDINGLY, it is hereby

         ORDERED, that Defendant is deemed mentally competent pursuant to 18 U.S.C. §

4241 and he is otherwise detained based upon his previous waiver of a detention hearing

(Text Minute Entry 3/16/2018).

Dated:         August 13, 2018
               Syracuse, NY




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